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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SCOTT WILSON, et al.,

                       Plaintiffs,
                                                         Civil Action No. 20-2190 (JEB)
                 v.

 FEDERAL BUREAU OF PRISONS,

                       Defendant.



                          JOINT MEET AND CONFER REPORT

       The Parties, by and through their undersigned counsel, respectfully submit this Joint Meet

and Confer Report pursuant to the Court’s Minute Order dated November 24, 2020. This matter

arises under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. This case is exempt

from the requirements of Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, pursuant

to Local Civil Rule 16.3(b)(10).

       1.      On August 4, 2020, Plaintiff filed a Complaint against Defendant, Federal Bureau

of Prisons (“BOP”) for failing to provide a final determination with respect to FOIA Request No.

2016-06166 and challenging the redactions with respect to FOIA Request 2016-05776.

       2.      On December 15, 2020, the parties met and conferred.

       3.      BOP informed Plaintiff’s counsel that it is actively working on FOIA Request No.

2016-06166 and anticipates making a final determination with respect to this request by the end

of January 2021.
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       4.      Plaintiff’s counsel provided the undersigned counsel with a detailed list of

concerns related to the production of records with respect to FOIA Request No. 2016-05776.

The undersigned counsel provided the list to BOP on December 18, 2020.

       5.      Based on the foregoing, the Parties believe that at this point summary judgment

briefing is premature because BOP is currently processing FOIA Request No. 2016-06166. The

Parties will continue to work directly together to address issues with respect to Plaintiff’s FOIA

request 2016-05776, so as to avoid unnecessary litigation where possible. Accordingly, the

Parties propose that they submit a joint status report on or before February 8, 2021, to update the

Court on the processing of FOIA Request no. 2016-06166 and the parties’ progress resolving

release issues related to FOIA Request No. 2016-05776.

Dated: December 18, 2020                      Respectfully submitted,

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                                              Acting United States Attorney

                                              Daniel F. Van Horn
                                              Chief, Civil Division
                                              D.C. Bar #924092

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